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                                   UNITED STATES DISTRICT COURT
                                            DISTRICT OF NEW JERSEY
    CHAMBERS OF                                                                      U N IT E D S T A T E S C O U R T H O U S E
JEROME B. SIMANDLE                                                                     O NE JO H N F. G E R R Y P LAZA
   D IS T R IC T JU D G E            ORIGINAL FILED WITH CLERK                                   P .O . B O X 8 8 8
                                                                                             C AMD EN , N J 08101
                                                                                                 (856) 757-5167
                                            June 25, 2010


       Richard Balter, 17432-050
       FCC-USP 2
       P.O. Box 1034
       Coleman, FL 33521

                     Re:    U.s. v. Balter
                            Cr. No. 93-536 (JBS)

                            Balter v. USA
                            Civil No. 08-1475 (JBS)

       Dear Mr. Balter:

            Your letter request dated June 15, 2010, for additional time
       to respond to the Government's opposition to your reconsideration
       motion until July 10, 2010 will be GRANTED.

                                                   Very truly yours,



                                                   JEROME B. SIMANDLE
                                                   U.S. District Judge

       JBS/mm

       cc:           James P. Lynch, AUSA
